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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

 UNITED STATES OF AMERICA,                              :
                                                        :   CASE NO.
                     Plaintiff,                         :
                                                        :   JUDGE BLACK
                           v.                           :
                                                        :   INFORMATION
 FIRSTENERGY CORP.,                                     :
                                                        :   18 U.S.C. §§ 1343, 1346, 1349
                      Defendant.                        :
                                                        :   FORFEITURE ALLEGATION


THE UNITED STATES ATTORNEY CHARGES:

        At times material to this Information:

        1.      Defendant FirstEnergy Corp. was an Akron, Ohio–based public utility holding

company. Between approximately 2016 until in or about February 2020, FirstEnergy Corp. was

the parent company to entities involved in energy generation, including the entity formerly known

as FirstEnergy Solutions (“FES”). As of November 16, 2016, FES had a separate and independent

Board of Directors from FirstEnergy Corp., and on March 31, 2018, FES filed for Chapter 11

bankruptcy protections. FirstEnergy Corp. also served as the parent company for FirstEnergy

Service Company (“FirstEnergy Service”), which provided financial and other corporate support

services to FirstEnergy Corp. and its subsidiaries. First Energy Corp. and its subsidiaries were

regulated by federal and state governmental agencies.

        2.      The Ohio House of Representatives was an elected body of the Ohio General

Assembly. Members of the Ohio House of Representatives served two-year terms and were

limited to four consecutive two-year terms. House members proposed, advanced, and voted on

legislation, including legislation regulating utilities.


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       3.      The Speaker of Ohio was the leader of the Ohio House of Representatives. The

Speaker guided the agenda of the chamber, presided over the House session, and provided

direction to House members and staff. The Speaker also decided when bills reach the House floor

for a vote and who served in leadership positions in the Speaker’s caucus. The Speaker named all

committees and subcommittees and appointed all members and chairs to committees and

subcommittees.

       4.      The Speaker was elected at the beginning of every General Assembly, which

convened its first regular session on the first Monday of January in odd-numbered years. To

choose a Speaker, representatives-elect of the majority caucus in the House nominated and voted

for a candidate for Speaker. The Speaker candidate who received an absolute majority of those

votes was then voted on by all House members during the first session day of the General

Assembly.

       5.      Public Official A represented the State of Ohio’s 72 District in the Ohio House of

Representatives from approximately January 2017 until June 2020. He also served as the Speaker

of the Ohio House of Representatives from January 7, 2019 until July 30, 2020.

       6.      Between 2017 and March 2020, FirstEnergy Service paid more than $59 million

($16,904,330.86 attributed to FirstEnergy Corp. and $43,092,505 attributed to FES) to

Generation Now – a purported 501(c)(4), which FirstEnergy Corp. knew was operated for the

benefit of and controlled by Public Official A, upon its inception in early 2017.

       7.      FirstEnergy Service made payments to Generation Now through Partners for

Progress, an entity that was incorporated in Delaware on or about February 6, 2017, weeks after

FirstEnergy Corp. senior executives traveled with Public Official A on the FirstEnergy Corp.

jet to the presidential inauguration in January 2017. On or about February 8, 2017, Partners for



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Progress registered as a foreign nonprofit Corp. in Ohio, specifically as a 501(c)(4) entity “to

engage in activities consistent with those permitted of an organization exempt from tax under

Section 501(c)(4) of the Internal Revenue Code.…”

       8.      Although Partners for Progress appeared to be an independent 501(c)(4) on paper,

in reality, it was controlled in part by FirstEnergy Corp. executives, who funded it and directed

its payments to entities associated with public officials. For example, FirstEnergy Corp.

executives directed the formation of Partners for Progress and decided to incorporate the entity in

Delaware, rather than Ohio, because Delaware law made it more difficult for third parties to learn

background information about the entity. FirstEnergy Corp. executives were also involved in

choosing the three directors of Partners for Progress, two of whom were FirstEnergy Corp.

lobbyists. Before Partners for Progress was formally organized, a FirstEnergy executive directed

that $5 million be designated for an unnamed 501(c)(4) in December 2016.

       9.      FirstEnergy Corp. exclusively funded Partners for Progress through payments

from FirstEnergy Service, which totaled approximately $25 million between 2017 and 2019,

approximately $15 million of which was wired to Generation Now. FirstEnergy Corp. executives

directed Partners for Progress to make payments in 2018, 2019, and 2020, including payments to

Generation Now, which helped conceal FirstEnergy Corp. as the source of the payments from

the public.

       10.     FirstEnergy Corp. made payments to Public Official A through Public Official

A’s 501(c)(4), Generation Now, in return for Public Official A taking specific official action

through the passage and enactment into law of nuclear legislation for FirstEnergy Corp.’s benefit

in Public Official A’s capacity as a public official. Use of 501(c)(4) entities was central to the

scheme because it allowed certain FirstEnergy Corp. executives and co-conspirators to conceal



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from the public the nature, source, and control of payments to and for the benefit of Public Official

A.

       11.     The Public Utilities Commission of Ohio (“PUCO”) regulated and oversaw

providers of utility services, including electric companies, natural gas companies, and

telecommunications companies to ensure Ohioans have access to safe and reliable utilities. Per

the PUCO’s mission, it promulgated rules and ensured the enforcement of those rules as well as

state law. As a part of its regulatory responsibility, the PUCO regularly made decisions that

affected the financial outlook of FirstEnergy Corp.

       12.     The PUCO was comprised of five commissioners appointed to rotating, five-year

terms by the governor of Ohio. “[A]ny Ohioan who is not employed by a public utility and does

not have a financial interest in a public utility can apply for an open seat.” After considering the

resumes of applicants, a 12-person nominating council recommended four finalists to the Ohio

governor, who either appointed a commissioner from the list or requested another slate of names

from the council. The Ohio governor’s appointment was confirmed by the Ohio Senate.

       13.     Public Official B was one of the five commissioners of PUCO, serving as Chairman

of PUCO from April 2019 until November 21, 2020, when Public Official B resigned.

       14.     Prior to serving as the Chairman of PUCO, Public Official B worked for a private

law firm and served as the general counsel for an industrial group of energy users, whose interests

often conflicted with FirstEnergy Corp.’s interests. Public Official B also was the sole owner of

Company 1 and Company 2, both of which entered a contract with FirstEnergy Corp. in 2010.

Public Official B, through Company 1, also entered into a consulting services agreement with

FirstEnergy Corp., through FirstEnergy Service in 2013, which was subsequently amended in

2015 but not executed by the parties. The 2015 amendment coincided with and was made in



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exchange for Public Official B’s industrial group withdrawing its opposition to a 2014 PUCO

Electric Security Plan settlement package involving FirstEnergy Corp.’s Ohio electric

distribution subsidiaries. The amended agreement called for an increase in Public Official B’s

retainer and supplemental payments through 2024. Although the amended agreement was not

executed, from 2015 through June 2018, FirstEnergy Corp. paid into the Company 1 account

pursuant to the terms of the agreement with Public Official B. Invoices from Company 1 were

structured to bypass FirstEnergy Corp.’s Level of Signature Authority levels for purposes of

internal approval of the payments.

       15.      On or about January 2, 2019, FirstEnergy Corp. wired $4,333,333, through

FirstEnergy Service, to Company 1 for Public Official B’s benefit. The $4,333,333 payment

represented the remaining payment amounts designated in the unexecuted amended consulting

agreement from 2019 through 2024. FirstEnergy Corp. was under no legal obligation to make

the payment at that time. Pursuant to its scheme, FirstEnergy Corp. executives made efforts to

advance the appointment of Public Official B as PUCO Chairman so that Public Official B could

further FirstEnergy Corp.’s interests in that role through official action.

       16.     FirstEnergy Corp. paid the $4,333,333 to Company 1 for Public Official B’s

benefit with the intent and for the purpose that, in return, Public Official B would perform official

action in Public Official B’s capacity as PUCO Commissioner and Chairman to further

FirstEnergy Corp.’s interests relating to passage of nuclear legislation and other specific

FirstEnergy Corp. legislative and regulatory priorities, such as voting on matters before the

PUCO, drafting and pursuing legislation on FirstEnergy Corp.’s behalf, and pressuring and

advising other public officials to do the same, as requested and as opportunities arose.




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                                        COUNT ONE
                      (Conspiracy to Commit Honest Services Wire Fraud)

        17.     The allegations contained in paragraphs 1 through 16 are realleged and incorporated

as if set forth fully herein.

        18.     From in or about 2016 through 2020, in the Southern District of Ohio and

elsewhere, the defendant, FirstEnergy Corp., through the acts of its officers, employees, and

agents, conspired with others known and unknown to commit honest services wire fraud, that is,

to devise and intend to devise a scheme and artifice to defraud the public of its right to the honest

services of Public Official A and Public Official B through bribery and concealment of material

information, and for the purpose of executing the scheme, using wire communications in interstate

and foreign commerce.

                In violation of 18 U.S.C. §§ 1343, 1346, 1349.

                                FORFEITURE ALLEGATION

        Upon conviction of the offense set forth in Count One of this Information, the defendant,

FirstEnergy Corp., shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28

U.S.C. § 2461(c), any property, real or personal, which constitutes or is derived from proceeds

traceable to such violation, including but not limited to a sum of money which represents the

amount of proceeds the defendant obtained as a result of the offense and the following specific

property:

        a.      Contents of PNC Bank, Account No. ending in 5348, in the name of Partners for

                Progress Inc. in the amount of $6,366,476.29; and

        b.      Contents of PNC Bank, Account No. ending in 3639, in the name of Partners for

                Progress Inc. in the amount of $108,960.32.




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                                     SUBSTITUTE ASSETS

       If any of the property described above, as a result of any act or omission of the defendant:

       a.      cannot be located upon the exercise of due diligence;

       b.      has been transferred or sold to, or deposited with, a third party;

       c.      has been placed beyond the jurisdiction of the court;

       d.      has been substantially diminished in value; or

       e.      has been commingled with other property which cannot be divided without

               difficulty,

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.

§ 2461(c), to seek forfeiture of any other property of the defendant, up to the value of the property

described above.



                                              VIPAL J. PATEL
                                              ACTING UNITED STATES ATTORNEY


                                                                        /
                                              EMILY N. GLATFELTER
                                              MATTHEW C. SINGER
                                              Assistant United States Attorneys




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